         Case 1:22-mj-00208-GMH Document 1-1 Filed 09/19/22 Page 1 of 5




                                   STATEMENT OF FACTS

        I, Charles D. Robertson, am a U.S. Army Counterintelligence Special Agent and FBI Task
Force Officer assigned to the FBI’s Colorado Springs Resident Agency (CSRA), National Security
Squad 2, which is part of the Joint Terrorism Task Force. On January 6, 2021, I was on duty and
performing my official duties. Specifically, I am tasked with investigating terrorism activity, both
foreign and domestic, in the CSRA area of responsibility. On January 6, 2021, there were many
individuals from the State of Colorado located at and in the U.S. Capitol building. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives (“the House”) and the United States Senate
(“the Senate”) were meeting in separate chambers of the U.S. Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the U.S. Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate, including
the President of the Senate, Vice President Pence, were instructed to—and did—evacuate the
chambers. Accordingly, the joint session of the United States Congress was effectively suspended
until shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from the time he
was evacuated from the Senate Chamber until the sessions resumed.
Case 1:22-mj-00208-GMH Document 1-1 Filed 09/19/22 Page 2 of 5
        Case 1:22-mj-00208-GMH Document 1-1 Filed 09/19/22 Page 3 of 5




       Agents reviewed U.S. Capitol surveillance camera footage and confirmed LAVRENZ’s
account. At approximately 2:43 p.m., LAVRENZ (circled in yellow below) entered the U.S.
Capitol through the East Rotunda Doors, also known as the Columbus Doors:




      Approximately one minute later, LAVRENZ ascended the east stairs, heading toward the
Rotunda:




      From approximately 2:45-2:47, LAVRENZ milled about in the Rotunda:
        Case 1:22-mj-00208-GMH Document 1-1 Filed 09/19/22 Page 4 of 5




       She briefly left the Rotunda for a few minutes, returning at 2:50 p.m.:




       At approximately 2:51, LAVRENZ left the Rotunda, descended the same east stairs she
had previously climbed, spoke briefly to a U.S. Capitol Police officer, and then, at approximately
2:53 p.m., left the U.S. Capitol building through the Columbus Doors:
         Case 1:22-mj-00208-GMH Document 1-1 Filed 09/19/22 Page 5 of 5




         Based on the foregoing, there is probable cause to believe that Lavrenz violated 18 U.S.C.
§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of 18 U.S.C. § 1752, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

        There is also probable cause to believe that Lavrenz violated 40 U.S.C. § 5104(e)(2)(D)
and (G), which make it a crime to willfully and knowingly (D) utter loud, threatening, or abusive
language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress; and (G)
parade, demonstrate, or picket in any of the U.S. Capitol Buildings.


                                                      _________________________________
                                                      Special Agent Charles Robertson
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 19th day of September 2022.

                                                      G. Michael Harvey Digitally signed by G. Michael Harvey
                                                                        Date: 2022.09.19 11:01:29 -04'00'
                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
